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Filed 06/06/25

AML Bitcoin Zero Balances February 1st - February 9th, 2018

DP 02/14/2018

Customer Number Date Jotal Balance

1{Mounir INV-4520 2/1/2018 3704 0
21Ms Firoz Kabir Jewel INV-4522 2/1/2018 7500 0
3]Gerald Casilli INV-4523 2/1/2018 1000 0
4iJohn Black INV-4524 2/1/2018 300 0
5]Seth Mankin INV-4525 2/1/2018 22500 0
6|Martha Amitay INV-4526 2/1/2018 300 0
7}Edmond Lim INV-4527 2/1/2018 7500 0
8|]CHAIM EKSTEIN INV-4529 2/1/2018 1500 0
9}Laurie Mackenzie INV-4530 2/1/2018 1500 0
10{Nabin k karki INV-4531 2/1/2018 900 0
11]{Gerald Casilli INV-4533 2/1/2018 9000 0
12]Christina tran INV-4534 2/1/2018 1950 0
13|Barry Fay INV-4536 2/1/2018 10500 0
14]Torgom Vartanyan INV-4538 2/1/2018 300 0
15{Maurice James Toal INV-4540 2/1/2018 3000 0
16]Greg Hechavarria INV-4544 2/1/2018 597 0
17{Roseblanche Hair INV-4546 2/1/2018 1500 0
18}robert farr INV-4548 2/1/2018 500 0
19{Albert Tan Kim Seng INV-4549 2/1/2018 3000 0
20]Ayo O Lawson INV-4550 2/1/2018 1500 0
21}Jason H Bourland INV-4552 2/1/2018 300 0
22] William Tharp INV-4553 2/1/2018 300 0
23{Margie Carroll INV-4555 2/1/2018 1500 0
24|Nate INV-4559 2/1/2018 300 0
25}Andrew Peterson INV-4563 2/2/2018 393 0
26|Martin O'Regan INV-4564 2/2/2018 10000 0
27\John Affuso INV-4565 2/2/2018 400 0
28]Shay Dorling INV-4566 2/2/2018 300 0
29}|Douglas Feuerbach INV-4568 2/2/2018 600 0
30]Helen Bruno INV-4570 2/2/2018 900 0
31{Ronald Switzer INV-4572 2/2/2018 800 0
32|Tatyana Kab INV-4575 2/2/2018 300 0
33}Paul David Shelor Jr INV-4576 2/2/2018 425 0
34]Dana Bell INV-4577 2/2/2018 558 0
35|Stuart Durie INV-4581 2/2/2018 300 0
36|Joseph Torossian INV-4586 2/2/2018 600 0
37}Eric Bonnette INV-4589 2/3/2018 1000.5 0
38|Joshua Calligan INV-4591 2/3/2018 500 0
39} Joe Hart INV-4596 2/3/2018 300 0
40}Adam Richardson INV-4597 2/3/2018 1140 0
41{Nemia Matuto INV-4599 2/3/2018 600 0
42|Terence Payet INV-4602 2/3/2018 3000 0
43}Stephanie Hood INV-4603 2/3/2018 1000.5 0

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44}Stephanie Lim INV-4604 2/3/2018 7500 0
45|DECLAN JOYCE INV-4608 2/3/2018 2230 0
46|Douglas Commish INV-4612 2/4/2018 300 0
47}Andrea Davidson INV-4613 2/4/2018 1500 0
48} Igor Dusa INV-4615 2/4/2018 1500 0
49}estelle m. ngo lissouck _|INV-4617 2/4/2018 750 0
50]Shlome Masri INV-4623 2/4/2018 900 0
51|Syed Faraz ul-haque INV-4626 2/4/2018 300 0
52]|Dora Eva Varallyay INV-4630 2/4/2018 1050 0
53]Samer Mawad INV-4632 2/4/2018 4000 0
54]|Chadwick Ferguson INV-4635 2/5/2018 1500 0
55{Lim kheng ann INV-4636 2/5/2018 375 0
56]Trevor James INV-4639 2/5/2018 3500 0
57|Daniel Vuong INV-4641 2/5/2018 375 0
58} Victor R Rosario INV-4643 2/5/2018 700 0
59}Jonathan Hochman INV-4644 2/5/2018 1000 0
60}Martha Amitay INV-4645 2/5/2018 300 0
61}Sajit Koshy INV-4649 2/5/2018 1000 0
62|Diana Donaghy INV-4650 2/5/2018 1470 0
63]{Marcellars Mason INV-4652 2/5/2018 300 0
64{Mirza Paglinawan INV-4653 2/5/2018 300 0
65|Sajit Koshy INV-4654 2/5/2018 1000 0
66|Daniel Ferrendino INV-4656 2/5/2018 550 0
67|Susumu Blackwolf INV-4657 2/5/2018 1500 0
68}michael brown INV-4658 2/5/2018 801 0
69}Jonathan Carpino INV-4659 2/5/2018 2250 0
70|Steve INV-4663 2/5/2018 2000 0
71{Andre Hart INV-4666 2/5/2018 300 0
72|Aziz Denian INV-4669 2/6/2018 5000 0
734{Ou Saeteurn INV-4670 2/6/2018 600 0
7A[Jessie Roldan INV-4671 2/6/2018 1500 0
75{Anthony Spoleti INV-4673 2/6/2018 1200 0
76]Francine Rubino INV-4675 2/6/2018 300 0
77{Munawar Andoo INV-4677 2/6/2018 300 0
78|Bhesh Raj Poudel INV-4682 2/6/2018 300 0
79{Nezam Dulal INV-4696 2/7/2018 300 0
80]}Ravi Prasad‘Nampally _|INV-4699 2/7/2018 350 0
81{Manikandan INV-4700 2/7/2018 725 0
82]Olivia Avila INV-4702 2/7/2018 450 0
83}Aram Muradyan INV-4704 2/7/2018 300 0
84] Andrew Bernard INV-4705 2/7/2018 300 0
85]tim Hornby INV-4706 2/7/2018 27000 0
86] Talal Abed Al Khalek INV-4708 2/7/2018 2100 0
87|Gurpreet Gill INV-4709 2/7/2018 300 0
88JRYAN WHITE INV-4714 2/7/2018 4500 0
89]|Giganeshkumar Sheth INV-4715 2/7/2018 750 0
90} Jesse rice INV-4717 2/7/2018 600 0

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